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IN THE UNITED sTATEs DISTRICT coURT maj ay ~€%- °~°-
FOR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 JUL ll PH lp hs

 

am/(SUS[»STR:CTUM
RUBY s. JOHNSON, w i'?""fM

Plaintiff,
vs. No. 05-2318-Ma/V
IKE'S, et al.,

Defendants.

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ORDER DIRECTING PLAIN'I'IFF 'l"O FILE A PROPERLY COMPLETED
_IL FORMA PAUPERIS AFFIDAVIT OR PAY THE CIVIL FILING FEE

 

Plaintiff Ruby S. Johnson filed a p;Q_ §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e §§ §§gé, on May 2, 2005, along with a motion seeking leave to
proceed ig fg;ma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee” of $250. 28 U.S.C. § 1914(a).1
To ensure access to the courts, however, 28 U.S.C. § 1915(a)
permits an indigent plaintiff to avoid payment of filing fees by
filing an in forma pauperis affidavit. Under that section, the
Court must conduct a satisfactory inquiry into~the plaintiff's

ability to pay the filing fee and prosecute the lawsuit. A

 

Effective March 7, 2005, the $150 civil filing fee was increased to
$250.

This documen? entered on the docket sheet in com 'ance
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plaintiff seeking ip fp;pa pauperis standing must respond fully to
the questions on the Court's ip fp;mg pauperis form and execute the
affidavit in compliance with the certification requirements
contained in 28 U.S.C. § 1746. See. e.g., Revnolds v. Federal Bur.

of Prisons, 30 Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v.

 

Fort Knox Fed. Credit Union, No. 86-1896, 1997 WL 242043 (6th Cir.
May 8, 1997).

The pp ;p;ma pauperis affidavit submitted by this
plaintiff is missing a page and, therefore, the information
provided is insufficient to permit the Court to conclude that she
is indigent and unable to pay the filing fee or to give security
therefor.

Accordingly, the plaintiff is ORDERED, within thirty (30)
days of the date of entry of this order, either to pay the $250
civil filing fee or to file a properly completed pp fp;ma pauperis
affidavit that is executed in compliance with 28 U.S.C. § 1746.
The Clerk is ORDERED -to send the plaintiff a copy of the
nonprisoner ip fp;ma pauperis affidavit along with this order.
Failure to timely comply with this order will result in dismissal
of this action,r pursuant to Fed. R. Civ. P. 4l(b), for failure to
prosecute.

IT Is so oRDERED this "*Al day of July, 2005.

J///”Q__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-023 l 8 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Ruby S. Johnson

91 N. Belvedere

Apt. 15

i\/lemphis7 TN 3 8104

Honorable Samuel Mays
US DISTRICT COURT

